
2 N.Y.3d 736 (2004)
In the Matter of LASHAWN WINTHROP, Appellant,
v.
GLENN S. GOORD, as Commissioner of Correctional Services, Respondent.
Court of Appeals of the State of New York.
Submitted February 23, 2004.
Decided March 30, 2004.
Motion, insofar as it seeks leave to appeal from the Appellate Division order denying summary relief, dismissed upon the ground that such order does not finally determine the proceeding within the meaning of the Constitution; motion, insofar as it seeks leave to appeal from the Appellate Division order of affirmance, dismissed as untimely (see CPLR 5513 [b]). Motion for poor person relief dismissed as academic.
